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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  WELLSPRING WORLDWIDE, INC.,                 )
                                              )     Civil Action No. 2:18-cv-00757
                           Plaintiff,         )
                                              )     Magistrate Judge Lisa Pupo Lenihan
                      v.                      )
                                              )
  RESOLUTE INNOVATION, INC.,                  )
                                              )
                           Defendant.         )


                                             ORDER

        The Court has been advised that this case has settled. The only matters remaining to be

completed are the payment of the settlement proceeds and the submission of a stipulation for

dismissal under Fed.R.Civ.P. 41(a). It appears that there is no further action required by the court

at this time. Therefore,

        IT IS ORDERED this 29th day of October, 2018, that the Clerk of Court mark this case

CLOSED. Nothing contained in this order shall be considered a dismissal or disposition of this

action. Should further proceedings be required, either party may file a motion to re-open and this

case will proceed as if this order had not been entered.

      IT IS FURTHER ORDERED that the Court expressly retains jurisdiction in this matter to

consider any issue arising during the period when settlement is being finalized including, but not

limited to, enforcing settlement.



                                                             s/Lisa Pupo Lenihan
                                                             Lisa Pupo Lenihan
                                                             United States Magistrate Judge

cc:     All Counsel of Record.
